                                IN THE
            ARIZONA COURT OF APPEALS
                            DIVISION ONE


                           In re the Matter of:

              JULIE ANN SKOGLUND, Petitioner/Appellee,

                                    v.

           JAMES DELL BARBOUR, II, Respondent/Appellant.


                        No. 1 CA-CV 22-0514 FC

                           FILED 08-27-2024

          Appeal from the Superior Court in Maricopa County
                         No. FN2019-053196
              The Honorable Melissa Iyer Julian, Judge

    VACATED AND REMANDED IN PART; AFFIRMED IN PART


                               COUNSEL

Osborn Maledon PA, Phoenix
By David B. Rosenbaum, Warren J. Stapleton, Eric M. Fraser,
Travis C. Hunt
Counsel for Petitioner/Appellee

Stillman Smith Gadow, Phoenix
By Jennifer G. Gadow, Stephen R. Smith
Co-Counsel for Respondent/Appellant

Berkshire Law Office PLLC, Tempe
By Keith Berkshire, Alexandra Sandlin
Co-Counsel for Respondent /Appellant
                       SKOGLUND v. BARBOUR
                         Opinion of the Court



                                OPINION

Judge Andrew M. Jacobs delivered the opinion of the Court, in which
Presiding Judge David B. Gass and Judge Brian Y. Furuya joined.


J A C O B S, Judge:

¶1            James Dell Barbour II (“Husband”) appeals the superior
court’s order awarding 48.835% of the value of three community businesses
to Julie Ann Skoglund (“Wife”) and the finding that his cash withdrawals
constituted waste of community funds during the marriage. The superior
court erred when it found Husband breached his fiduciary duty because he
transferred community property without Wife’s express consent. We
therefore reverse the allocation of the community property and remand for
an equitable allocation of the affected community property. We affirm the
waste ruling.

             FACTS AND PROCEDURAL BACKGROUND

      A.     Ownership of VIP

¶2           The parties married in 2000. At the time, Wife worked as a
realtor and Husband worked in the mortgage business. In 2006, the parties
started VIP Mortgage (“VIP”), which primarily originates and sells
residential mortgage loans. Husband and Wife provided $1 million in
community funds to start VIP and another $450,000 in 2009. At its
inception, Husband was VIP’s sole shareholder, incorporator, officer, and
director. Husband is still president and chief executive officer of VIP.

¶3             Soon after VIP started, the global economy crashed, wreaking
havoc on VIP’s subprime loan business. By 2007, VIP had one employee
other than Husband. Around that time, VIP hired Husband’s lifelong
friend, Keith Teegardin, after the mortgage company Teegardin worked for
collapsed. Teegardin brought with him a team of 10–15 employees, an
existing relationship with a home builder, and a significant book of 250
loans. In 2007, Husband and Teegardin drafted a business plan reflecting a
50-50 partnership with a buy-in by Teegardin. They never finalized the
buy-in agreement.

¶4          Over the next several years, Husband and Teegardin operated
under a “handshake.” Both testified they always intended for Teegardin to


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receive an ownership interest in VIP in exchange for his initial and
continued contributions. The superior court accepted Husband’s testimony
that without Teegardin’s contributions, VIP would not have survived the
financial crisis. Nonetheless, VIP’s records did not identify Teegardin as an
owner or shareholder. In 2008 and 2009, VIP paid Teegardin more than
Husband and Wife earned from the business.

¶5           In response to requests from VIP’s lenders, Husband and
Teegardin discussed a succession plan in 2013. Husband met with VIP’s
auditor John Metz and attorney Jack Beaver. Beaver proposed two ways to
formalize Teegardin’s ownership interest. Teegardin could purchase the
shares from Husband or VIP; alternatively, Husband could give the shares
to Teegardin. Both options required an appraisal of VIP.

¶6           The initial draft appraisal “for purposes of implementing an
Employee Stock Option Plan” valued VIP at $11.7 million in November
2013. After two more drafts, the appraisal value ended up at $4.43 million
for a 49% interest in VIP. The superior court inferred that the effort to
reduce the value of VIP was Husband’s desire to minimize gift tax
consequences.

¶7            In February 2014, Husband, Metz, and Beaver continued
working on a buy-sell agreement to restrict the transfer of shares upon
Husband’s or Teegardin’s death or divorce. In May 2014, Wife met with
Husband and Beaver to discuss the proposed buy-sell agreement. She
refused to sign it at that time. Wife opposed the agreement and asked for a
new agreement identifying her as a VIP shareholder, allowing spouses to
request an appraisal upon a triggering event, and adjusting the pay-out
period. Husband opposed naming Wife as a shareholder to prevent her
from becoming personally liable on VIP debts. But he agreed to name her
as a VIP “founder by virtue of her 50% community property interest” and
agreed to the other changes. Beaver sent Husband, Wife, and Teegardin a
revised agreement reflecting these changes as well as a gift affidavit.

¶8           Wife again objected to the timing of a buy-out in the event of
a divorce. Beaver proposed a change to provide that if a divorce occurs,
VIP shares go to Husband, and Wife receives a greater amount of
community property, if available, to which Husband agreed. Wife then
hired her own attorney to review the agreement.

¶9           As the superior court’s findings indicate, Wife consistently
expressed her ownership interest in VIP as one entitling her to half of what
remained after Teegardin was to be given 31% of VIP. When Wife’s



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attorneys asked how they determined Teegardin’s 31% interest, Beaver
explained that Husband intended to give him a substantial but non-
controlling interest because he has been with VIP since the beginning and
Husband felt he was owed that. To account for the community’s
investment of $1.45 million in VIP, Teegardin’s interest was reduced to 31%
instead of the originally anticipated 49%. Wife’s attorney wrote that “Julie
supports that decision,” referring to Husband’s plan to grant shares to
Teegardin to “reflect his contribution to the company through his work
efforts.” Wife asked that in granting Teegardin his shares that she own half
of the remaining shares, or 34.5%. After disagreements about other terms,
Wife did not sign the agreement. Husband and Teegardin later signed the
buy-sell agreement, which did not refer to Wife as a founder, effective
January 1, 2014. Wife did not sign a spousal consent. From 2014 on, VIP
records identified Teegardin as a shareholder and issued him K-1 tax forms
as a 31% shareholder. As the superior court found, though Teegardin’s 31%
ownership share was known, Wife and her counsel failed to raise any
concerns about Teegardin’s 31% share during negotiations over the next
four years. As the court noted, consistent with Wife’s position in 2014, “her
concerns centered on” being paid for “her half of the community’s interest
in the remaining 69% with a prompt payout.”

¶10           Over the next few years, Wife did not formally consent to
Teegardin’s share. In October 2015, Husband and Wife signed gift tax
returns showing a gift of VIP shares to Teegardin. The superior court found
Wife did not realize she was signing a gift tax return. The transfer of VIP
shares to Teegardin did not come up again until a 2018 discussion about life
insurance and revising the buy-sell agreement. Wife hired attorney Gene
Keller to review the agreement. He proposed some revisions — but none
related to the transfer of an ownership interest to Teegardin. With
Husband’s consent, Beaver made “nearly all of the changes requested by
[Wife’s] attorney.” However, Wife did not sign the 2018 agreement with
these changes.

¶11            The superior court held that if a transfer of community
property occurred without Wife’s express consent, that transfer would
“constitute a breach of that [fiduciary] duty” to Wife under Gerow v. Covill,
192 Ariz. 9 (App. 1998), and Mezey v. Fioramonti, 204 Ariz. 599 (App. 2003).
The court then found Husband transferred the shares to Teegardin without
Wife’s consent, which it ruled was a fiduciary breach under those cases.
The court also found Husband breached his fiduciary duty to Wife because
he transferred a substantial community asset without “a demonstrable
benefit to the community.” As a result, the court awarded Wife 48.835% of
the value of VIP, essentially giving her the value of half the shares


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transferred to Teegardin. As the court noted, its ruling does not affect
Teegardin’s ownership. The court valued VIP at $88,119,099. As a result,
Wife was entitled to an equalization payment of $43,023,962.

      B.     Ownership of Other LLCs

¶12          Barbour Teegardin, LLC, was formed to purchase VIP’s office
building. Like VIP, the community owns 69% of Barbour Teegardin, LLC,
and Teegardin owns 31%. The superior court found Wife was entitled to
48.835% of its value because the funds to buy the building in 2016 came
from VIP.

¶13           Husband created Inventiv Technologies, LLC, after Wife filed
for divorce. Wife alleged that he created Inventiv to funnel profits from VIP
to a separate property company. The court agreed and found that this
violated Husband’s fiduciary duty to Wife, the Fraudulent Transfer Act
(A.R.S. § 44-1004), and the preliminary injunction. The court awarded Wife
48.835% of Inventiv’s value.

      C.     Waste of Community Funds

¶14            Wife made several allegations of marital waste; only one is
relevant to this appeal. Wife asserted that between 2007 and 2019, Husband
spent $530,578 in cash for non-community purposes. Based, in part, on
Husband’s own estimations that he spent nearly $1 million in cash on strip
clubs, sex workers, and extra-marital affairs, the superior court found that
Wife met her prima facie case of showing these cash withdrawals were not
made for the benefit of the community. The court also found Husband did
not rebut this. After deducting the undisputed amount spent on one
particular affair ($158,600) to avoid double-counting, the court awarded
Wife one-half of the remaining $371,978 in cash withdrawals.

¶15          The superior court made written findings of fact and
conclusions of law in an amended decree and later entered a final judgment.
Husband timely appealed. We have jurisdiction under A.R.S. § 12-
2101(A)(1).




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                               DISCUSSION

I.     The Superior Court Applied an Incorrect Legal Standard When
       Considering Whether Transferring Shares to Teegardin Breached
       Husband’s Fiduciary Duty.

¶16            Husband does not dispute that he owed Wife a fiduciary
duty. Instead, he argues the court applied the wrong standard when
deciding he breached his fiduciary duty. Whether the court applied the
correct legal standard is a question of law we review de novo. Mobilisa, Inc.
v. Doe, 217 Ariz. 103, 107 ¶ 9 (App. 2007).

       A.     The Superior Court Incorrectly Applied Gerow and Mezey.

¶17            The superior court found Husband breached his fiduciary
duty to Wife when he transferred an interest in VIP to Teegardin without
her consent.        As the court framed its inquiry, “[t]he question
. . . is whether the transfer occurred without Wife’s knowledge or consent,
which would constitute a breach of that duty under Gerow and Mezey.” The
court underscored this view of Gerow and Mezey by stating that the transfer
to Teegardin was not “a business judgment related to VIP’s management,”
making it nakedly a gift, reinforcing the requirement of consent to avoid
fiduciary breach.

¶18           This reading of Gerow and Mezey is incorrect, because both
cases stand for the proposition that unconsented transfers of community
assets may be — but are not necessarily — breaches of fiduciary duties. As
we wrote in Gerow, “[r]emoval of community assets without spousal notice
and/or approval can constitute a breach of that duty.” Gerow, 192 Ariz. at
18 ¶ 40 (emphasis added). We similarly explained in Mezey that “absent
intervening equities, a gift of substantial community property to a third
person without the other spouse’s consent may be revoked and set aside for
the benefit of the aggrieved spouse.” 204 Ariz. at 608 ¶ 38 (emphasis
added).

¶19           Instead, the default rule in this area is that either spouse can
dispose of community property or otherwise act for the community absent
certain exceptions not applicable here. See A.R.S. §§ 25-214(C); 25-215(D).
A spouse’s ability to dispose of community property is subject to a fiduciary
duty to the other spouse. In re Estate of Kirkes, 231 Ariz. 334, 335 ¶ 5 (2013);
Gerow, 192 Ariz. at 18 ¶ 40. Given that unconsented disposition of
community assets may or may not be a breach, we next consider the parties’
arguments as to whether a breach occurred here.



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      B.      Wife’s and Husband’s Positions Fail to Resolve Whether the
              Transfer to Teegardin Was a Breach of Fiduciary Duties.

¶20            Wife argues that the transfer to Teegardin was gratuitous —
a gift that was not a business decision, as the superior court found, and thus
by its nature, waste that violated his fiduciary duties. Husband argues that
he did not act in bad faith to defraud the marital community, as A.R.S.
§ 44-1004 prohibits. Husband argues that even though the superior court
did not reference that statute, Gerow and Mezey both applied it, making it
the standard for resolution of Wife’s claim that he improperly disposed of
the shares of VIP he transferred to Teegardin. Husband claims that because
the superior court did not find that he had the “actual intent to hinder,
delay, or defraud,” see A.R.S. § 44-1004(A)(1), his transfer to Teegardin
could not have violated his fiduciary duties. We reject both parties’
positions.

              1.     Wife’s Position: The “Gift” Fallacy

¶21           Wife’s position that unconsented substantial transfers of
community assets are gifts that automatically violate Husband’s marital
fiduciary duties fails for three reasons.

¶22            First, in Wife’s authorities, the transfers benefited one spouse
to the detriment of the other. Mezey, 204 Ariz. at 607, 609 ¶¶ 32, 41 (husband
gave his mistress cash and gifts bought with community funds); Gerow, 192
Ariz. at 18 ¶ 40 (husband took goodwill from a community business and
opened a competing business in a relative’s name without compensating
the community); Roselli v. Rio Communities Serv. Station, Inc., 787 P.2d 428,
433 (N.M. 1990) (in considering whether a spouse’s transfer of community
property to himself violated the fiduciary duty, the court should consider
“intervening equities”); Wright v. Wright, 280 S.W.3d 901, 909 (Tex. App.
2009) (court reviewed considerable evidence that husband transferred
community assets in trying to deprive wife of their use and enjoyment); 15B
Am. Jur. 2d Cmty. Prop. § 64 (2023) (holding spouses owe a fiduciary duty
they can breach by “improper” dissipation of community property). Even
if the transfer to Teegardin was imprudent, the court did not find it was for
Husband’s benefit, nor does our review of the record suggest that it was.
Nor does the record support a finding that the transfer was detrimental to
Wife.

¶23            Second, Wife’s argument overemphasizes the gift concept
until it obscures the question of whether a transfer is a violation of fiduciary
duties. Her brief heavily emphasizes the assertedly gratuitous nature of the



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transfer of shares to Teegardin, treating it as necessarily answering the
question as to whether the transfer harmed Wife. Wife’s theory fails in part
because it cannot account for transfers of shares in comparable cases that
benefit the business and in turn enrich the community. In other words, if
an unconsented gift of shares to Teegardin resulted in Teegardin remaining
with VIP and growing the business to new heights that benefitted both
Husband and Wife, there would be no fiduciary breach. Wife’s authorities
suggest injury to her is necessary to constitute a fiduciary breach. In short,
labeling a transfer a “gift” does not make the transfer injurious to Wife.

¶24            Third, Wife’s answer to this logic also fails. She argues the
superior court found as a factual matter that the transfer to Teegardin was
a gift and that Husband failed to object to that finding. So, Wife reasons,
Husband is stuck with the legal consequences Wife suggests flow from the
designation of the transfer as a “gift.” The finding upon which Wife’s
argument rests is that “[t]he gifting of shares to Keith in 2014 did not
represent a ‘business judgment’ related to VIP’s management.” Yet that
finding does not support the outcome Wife seeks, because the court made
contrary findings that demonstrate the business purpose of the transfer.
The court overrode Wife’s evidentiary objections and found that Husband
and Teegardin drafted a “business plan” under which Teegardin would
acquire ownership of shares in VIP. The court likewise credited Husband’s
testimony that Teegardin’s contributions were a but-for cause of VIP
surviving the subprime mortgage crisis of 2007, making Teegardin a but-
for cause of the $88 million value of the business. The court also found that
Wife conditionally consented to the 31% transfer to Teegardin in 2014, and
that she asked for other changes to VIP’s management documents — but
not to Teegardin’s 31% ownership share — over the next four years. These
factual findings are consistent with Wife’s insistence that she never legally
consented to the transfer, but they cannot be reconciled with the assertion
that giving Teegardin 31% was “not a business judgment related to VIP’s
management.”

¶25          The court’s thorough findings of fact demonstrate Husband
granted shares to Teegardin for business purposes long recognized by
Husband and Teegardin (and implicitly by Wife as well). To the extent the
court simultaneously found the transaction had no business purpose
whatsoever, it is an abuse of discretion to which we cannot defer.

¶26           For all of these reasons, we reject Wife’s position that labeling
the transaction as a gift that is not a business decision requires viewing it as
a breach of fiduciary duties. And to the extent the superior court made a
factual finding that the transfer was a gift that was not a business decision,


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we reverse any such finding as an abuse of discretion given the contrary
findings that render it insupportable. The right question, as we explain
further below in Paragraphs 31–35, is whether the transfer, considered as a
business transaction, violated Husband’s fiduciary duties to Wife.

              2.     Husband’s Position: The “Good Faith” Fallacy

¶27          Husband contends he did not violate his fiduciary duties to
Wife because the transfer to Teegardin did not violate A.R.S. § 44-1004(A).
This argument fails because it misreads and asks us to overextend Gerow
and Mezey.

¶28           Gerow clearly separates its analysis of fraudulent conveyance
and breach of fiduciary duty. There, a husband transferred goodwill and
other intangible assets of a business that was community property without
notice to his wife before a divorce. 192 Ariz. at 15 ¶ 26. The superior court
separately found a fraudulent conveyance and a breach of fiduciary duties,
192 Ariz. at 15 ¶ 26 and we affirmed those findings, likewise parsing the
issues separately. Id. at 17 ¶¶ 33–36 (affirming finding of fraudulent
conveyance under A.R.S. § 44-1004); id. at 18 ¶¶ 37–40 (affirming finding of
breach of fiduciary duty).

¶29             In Mezey, we affirmed an ex-wife’s judgment for conversion
against her ex-husband’s mistress where the ex-husband concealed
transfers of property and monies to the mistress for which he received no
consideration, and which were made in furtherance of divorce. 204 Ariz. at
608 ¶ 41. The superior court held those concealed transfers of property
were fraudulent in violation of A.R.S. § 44-1004(A), a conclusion we also
affirmed. Our decision in Mezey repeats that spouses owe each other
fiduciary duties in the management of community assets, but it does not
explain the relationship of A.R.S. § 44-1004(A) to the spousal duty to act as
a fiduciary of the community. While the existence of a fraudulent transfer
is sufficient to demonstrate a breach of fiduciary duty, it does not follow (as
Husband’s briefing suggests) that the absence of a fraudulent transfer
affirmatively demonstrates that Husband breached no fiduciary duty to
Wife.

¶30           As Gerow and Mezey correctly suggest, the fact that the
superior court did not find that Husband fraudulently transferred the VIP
shares to Teegardin does not immunize Husband from a claim that he
violated fiduciary duties to Wife through the transfer. We therefore reject
Husband’s argument that there was a no breach of fiduciary duty because
he did not violate A.R.S. § 44-1004.



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       C.     The Criteria for Determining Whether Giving Teegardin a
              31% Stake in VIP Violated Fiduciary Duties

¶31           Upon remand, the superior court must determine whether the
transfer to Teegardin violated Husband’s fiduciary duties. We have
already explained what does not conclusively resolve the question: Wife’s
non-consent, labeling the transaction as a gift, and pointing out the transfer
was not held fraudulent. So on to what does answer the question. First, the
superior court should consider the criteria for fiduciary breach within
community property businesses suggested by Gerow and Mezey. Second,
given Husband’s operational control over VIP, the superior court should
also consider whether Husband breached fiduciary duties in the way a
managing member of a corporation may breach duties to a non-managing
member. We explain those distinct inquiries next.

              1.     Whether the Transfer of Shares to Teegardin Bore the
                     Indicia of Fiduciary Breaches in Gerow and Mezey

¶32           While Gerow and Mezey do not provide the only instances of
fiduciary breaches in the context of businesses that are community
property, and their facts do not furnish clean rules, they are our leading
cases and are instructive. Thus, the superior court should consider whether
Husband’s conduct bore the indicia of fiduciary breaches that were present
in Gerow and Mezey. These include whether: (1) Wife lacked notice of the
transfer to Teegardin; (2) Wife took affirmative steps to block the transfer
to Teegardin, or instead acquiesced in it; (3) Husband’s transfer to
Teegardin was “divorce planning”; (4) Husband was economically
benefited by the transfer; and (5) the amount of the transfer was so great as
to be unfair in light of Teegardin’s past, then-current, and anticipated
contributions. See Mezey, 204 Ariz. 599; Gerow, 192 Ariz. 9. Additionally,
the court should consider whether through the transfer to Teegardin,
Husband retained a benefit to the detriment of Wife, which is
impermissible. See Zork Hardware Co. v. Gottleib, 170 Ariz. 5, 6 (App. 1991)
(one spouse may not convert a separate debt into a community obligation).
Taking these factors as a whole, the superior court should determine
whether they indicate Husband has breached fiduciary duties to Wife.

              2.     Whether the Transfer of Shares to Teegardin
                     Breached Husband’s Fiduciary Duties of Care and
                     Loyalty

¶33          But the inquiry does not end with the above. Wife is not only
Husband’s spouse, but also his business partner. Thus, while the above
factors sound in Arizona’s law of community property, they are not the


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only way to show Husband breached fiduciary duties to Wife. Given Wife’s
status as half-owner of VIP through the marital community, Wife can also
establish a breach of fiduciary duties by showing Husband’s decision to
provide Teegardin a 31% stake in VIP in 2014 failed to comply with his
duties of care and loyalty as a manager of VIP. Shoen v. Shoen, 167 Ariz. 58,
65 (App. 1990) (“[A] board member’s obligation to the corporation and its
shareholders involves a duty of care and a duty of loyalty. The duty of care
refers to the responsibility to exercise the care that a reasonably prudent
person in a similar position would exercise under similar circumstances.”).
If Husband did not breach duties of care and loyalty as a corporate manager
in making the transfer to Teegardin, then the transfer was not just a business
decision, as the court’s other findings indicate, but was a defensible
business decision. In that case, it cannot be shoehorned into the rule we
approved in Mezey, that “absent intervening equities, a gift of substantial
community property to a third person without the other spouse’s consent
may be revoked and set aside for the benefit of the aggrieved spouse.” 204
Ariz. at 608 ¶ 38.

¶34           On remand, the inquiry into whether the Teegardin transfer
violated duties of care and loyalty includes, but is not limited to,
considering “the value the community received as a result of the 2014
transfer,” which the superior court did. Because the court’s findings of fact
demonstrate that the transfer to Teegardin was a business decision, the
court must determine its prudence and loyalty in the total context of that
business decision. That context necessarily includes Teegardin’s then-past,
current, and anticipated contributions, any past plans to make Teegardin a
part owner by VIP’s manager (Husband) that led Teegardin to create value
for the community business, and any later conduct of Wife that reflected
agreement (as shareholder or otherwise) that Teegardin’s shares were
properly granted so long as she took half of what remained.

¶35           We therefore reverse the order that Wife is entitled to an
equalization payment worth 48.835% of VIP’s value, and the order
awarding Wife 48.835% interest in two other entities, Barbour Teegardin,
LLC, and Inventive Technologies, LLC. On remand, the court must
determine whether Husband breached a fiduciary duty in light of the
foregoing standards. If not, the court must divide the remaining interest in
VIP equitably among Husband and Wife.

II.    Husband’s Admissions Constitute a Prima Facie Case of Waste.

¶36         Courts may consider a spouse’s excessive or abnormal
expenditures of community assets, i.e., waste, when apportioning


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community property. See A.R.S. § 25-318(C); Gutierrez v. Gutierrez, 193 Ariz.
343, 346 ¶ 6 (App. 1998). If the spouse alleging waste makes a prima facie
case, the burden shifts to the spending spouse to show a benefit to the
community. Id. at 346 ¶¶ 6–7. We review the superior court’s
determination that there is sufficient evidence for a prima facie case under
an abuse of discretion standard. Kline v. Kline, 221 Ariz. 564, 573 ¶ 35 (App.
2009).

¶37           Wife asserted that Husband spent significant community
funds on extramarital affairs and other activities that did not benefit the
community. Specifically, she alleged his cash withdrawals totaling over
$500,000 constitute waste. At his deposition, Husband admitted this. In
fact, he provided a spreadsheet estimating that he spent nearly $1 million
on sex workers, strip clubs, and extramarital affairs. Some of those funds
came from Husband’s cash withdrawals.

¶38           The superior court found that together with the $158,600 cash
Husband admittedly spent on an affair, Wife showed that he could not
account for $371,978 in cash withdrawals. The court determined that Wife
made a prima facie case for waste and that Husband did not rebut this by
showing he used the cash to benefit the community.

¶39          Husband argues that the superior court erred when it found
Wife met her prima facie case by simply adding up twelve years of ATM
withdrawals. But that is not what the court did. Wife alleged a prima facie
case of waste based on Husband’s own estimate of non-community
expenses. From that starting point, Wife showed there were over $500,000
in cash withdrawals that Husband could not explain. She also relied on
Husband’s deposition testimony that he spent considerable money on sex
workers and affairs.

¶40            A prima facie case requires evidence to support a rational
inference that the allegation is true. See Kline, 221 Ariz. at 573 ¶ 35; see also
State v. Speerschneider, 25 Ariz. App. 340, 343 (1975) (defining prima facie as
“sufficient evidence to permit the trial court to reasonably infer” a fact).
Wife alleged Husband spent over $500,000 on activities that did not benefit
the community based, in part, on his unexplained cash withdrawals.
Husband’s own testimony supports a rational inference that over $500,000
in unexplained cash withdrawals were not for the benefit of the community.
Wife thus made a prima facie case of waste.

¶41           Husband then had the burden to show what amount
benefited the community. Husband misdescribed the burden of proof by



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asserting that Wife must show that each individual withdrawal constituted
waste. To be sure, if Husband had not admitted to spending that amount
of money on these non-community activities, Wife would have had to show
more detailed information. But Husband essentially conceded that the
spending at issue was both excessive and abnormal. Wife’s evidence
showed he paid for these things, in part, with cash withdrawals. As the
court pointed out, Husband “failed to specifically or adequately explain his
use of such significant sums of cash.”

¶42           On appeal, Husband does not point to any evidence that he
used this cash for community purposes. Reasonable evidence supports the
court’s findings on this issue, and we will not reweigh it on appeal. Lehn v.
Al-Thanayyan, 246 Ariz. 277, 284 ¶ 20 (App. 2019) (“On appeal, we do not
reweigh the evidence but defer to the family court’s determinations of
witness credibility and the weight given to conflicting evidence.”).
Therefore, we affirm the waste ruling.

                    ATTORNEYS’ FEES ON APPEAL

¶43           Both parties request an award of attorneys’ fees and costs on
appeal under A.R.S. § 25-324. In the exercise of our discretion, after
considering the reasonableness of the parties’ positions and their financial
resources, we decline to award attorneys’ fees on appeal. Both parties
prevailed in part, so we do not award costs under A.R.S. § 12-342.

                              CONCLUSION

¶44            We reverse the order that Wife is entitled to an equalization
payment worth 48.835% of VIP’s value. On remand, the court shall
determine whether there is a breach of fiduciary duty and make such
rulings as are necessary to allocate the community’s interests appropriately.
We affirm the waste ruling.




                          AMY M. WOOD • Clerk of the Court
                          FILED: AGFV



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